Case 1:03-cV-01226-.]DB-tmp Document 32 Filed 06/09/05 Page 1 of 3 Page|D 59

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT oF TENNESSEE 05 JUH 9 H h 3
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EASTERN DIVISION
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EJL§P,§, q~'~ r§'ii‘~O#‘?
BILLIE D. McKINNIE, ) WD» OF TN, i.-»:sa:'z)§zs‘
)
Plaintiff, )
)
vs. ) Civil Action No.: l:03-1226-B/P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this 1 day of :TUY\€__ , 2005.

M
HM 'Tq m. Phq m

UNITED STATES°B'I'S'TRI'€T JUDGE
ma 3151`¢'¢\1`¢2.

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with Rule 58 and/or 79(3) FHCP on '

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Case 1:03-cV-01226-.]DB-tmp Document 32 Filed 06/09/05 Page 3 of 3 Page|D 61

Honorable J. Breen
US DISTRICT COURT

